EXHIBIT C
                                                                                                                       MORTGAGE STATEMENT
                                                                                                                                                         Statement Date: 12/04/2019
                                                                                                      Account Number
                        DO NOT SEND MAIL OR PAYMENTS TO THIS ADDRESS                                  Next Due Date                                                            01/01/2020
                        P.O. Box 619063 • Dallas, TX 75261-9063                                       Amount Due                                                              $1,230.23
                                                                                                      If payment is received after 01/16/2020, $0.00 late fee may be assessed.
                             3-811-08565-0067498-001-000-000-000-000
                                                                                                       Phone:              800-365-7107
                                                                                                       Website:            www.shellpointmtg.com
                             GREGG CARDIN
                             4928 W CARMEN AVE
                             CHICAGO IL 60630-2424                                                   Explanation of Amount Due
                                                                                                     Principal                                                                    $342.14
                                                                                                     Interest                                                                     $755.93
                                                                                                     Escrow (Taxes and Insurance)                                                 $107.16
                                                                                                       Regular Monthly Payment                                                  $1,205.23
                                                                                                     Total Fees and Charges                                                         $0.00
                                                                                                     Overdue Payment                                                               $25.00
                                                                                                       Total Amount Due                                                         $1,230.23

                 Account Information
                 Outstanding Principal                           $190,971.60                          Past Payments Breakdown
                 Interest Rate                                       4.7500%                                                                               Paid Last         Paid Year to
                 Prepayment Penalty                                      None                                                                               Month                Date
                 Property Address:     1550 S BLUE ISLAND AVE UNIT
                                                                                                      Principal                                               $340.79           $5,877.33
                                       CHICAGO IL 60608
                                                                                                      Interest                                                $757.28           $9,227.38
                 Contractual Due Date:                        January 1, 2020
                 Current Escrow Balance:                           -$1,380.56                         Escrow                                                  $107.16           $1,106.65
                                                                                                      Fees/Late Charges                                         $0.00               $0.00
                                                                                                      Total                                                 $1,205.23          $16,211.36


                 Transaction Activity (11/16/2019 - 12/03/2019)
                 Date           Description                                                                                                                Charges              Payments
                 12/03/2019 Regular Payment - (Due 12/1/2019)                                                                                                    $0.00          $1,205.23




                 Important Messages
                 *Partial Payments: Any partial payments that you make are not applied to your mortgage, but instead are held in a separate suspense
                 account according to applicable state law. If you pay the balance of a partial payment, the funds will be applied to your mortgage.

                 Additional Messages
                  Federal law requires us to tell you how we collect, share, and protect your personal information. Our Privacy Policy has not changed. You can review
                  our policy and practices with respect to your personal information at www.shellpointmtg.com or request a copy to be mailed to you by calling us at 800-365-7107.




                  For questions regarding the servicing of your loan, please contact customer care at 800-365-7107.
005-0814-1100F




                            For information about your payments, total amount due, and any additional payment history, see reverse side.


                                                           Detach and return with payment.
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                                                                                                                                              Amount Due
                                                                                                                    Payment Due Date                                         01/01/2020
                                                                       Property Address:                            Total Amount Due                                          $1,230.23
                        Loan Number:                                   1550 S BLUE ISLAND AVE UNIT                  $0.00 late fee may be charged after 01/16/2020
                        GREGG CARDIN                                   CHICAGO IL 60608
                                                                                                                    Please write clearly inside space provided

                                                                                                                    Payment Amount                                       $
                        SHELLPOINT MORTGAGE SERVICING                                                               Additional Principal                                 $
                        PO BOX 740039
                        CINCINNATI OH 45274-0039                                                                    Late / Other Charges                                 $
                                                                                                                    Additional Escrow                                    $
                                                                                                                    Total Amount Enclosed                                $
                                                                                                                    (Please do not send cash)
                                                                                                      Account Number




Important Notice: NewRez LLC dba Shellpoint Mortgage Servicing is a debt collector. This is an attempt to collect a debt and any
information obtained will be used for that purpose. NewRez LLC dba Shellpoint Mortgage Servicing’s NMLS ID is 3013.
If you are a customer in bankruptcy or a customer who has received a bankruptcy discharge of this debt: please be advised that this notice is
to advise you of the status of your mortgage loan. This notice constitutes neither a demand for payment nor a notice of personal liability to
any recipient hereof, who might have received a discharge of such debt in accordance with applicable bankruptcy laws or who might be
subject to the automatic stay of Section 362 of the United States Bankruptcy Code. However, it may be a notice of possible enforcement of
the lien against the collateral property, which has not been discharged in your bankruptcy.
Notice of Error or Information Request Address
You have certain rights under Federal law related to resolving errors in the servicing of your loan and requesting information about your loan.
If you want to request information about your loan or if you believe an error has occurred in the servicing of your loan and would like to submit
an Error Resolution or Informational Request, please write to us at the following address:
Shellpoint Mortgage Servicing
P.O. Box 10826
Greenville, SC 29603

For budget advice and credit counseling assistance please call the U.S. Department of Housing and Urban Development (HUD) at
800-569-4287 or at http://www.hud.gov/offices/hsg/sfh/hcc/hcs.cfm.
Amounts paid in excess of your payment amount will first be used to satisfy any delinquency. If there are no past due amounts then excess
funds paid will be posted to your principal balance. As required by law, you are hereby notified that a negative credit report reflecting on your
credit record may be submitted to a credit reporting agency if you fail to fulfill the terms of your credit obligations.
Shellpoint Mortgage Servicing may assess a returned check fee consistent with the laws for your state and your loan documents on all checks
returned by your financial institution. Additionally, Shellpoint may charge a fee for processing payoff requests.
Si usted no entiende el contenido de esta carta, por favor contacte a uno de nuestros representantes que hablan Español al número
800-365-7107.
If you prefer to receive communication in a language other than English, please contact us at 800-365-7107 to speak with a translator in your
preferred language about the servicing of your loan or a document you received.
A successor in interest is someone who acquires an ownership interest in a property secured by a mortgage loan by transfer upon the death of
a relative, as a result of a divorce or legal separation, through certain trusts, between spouses, from a parent to a child, or when a borrower
who is a joint tenant or tenant by the entirety dies. If you are a successor in interest, or you think you might be, please contact by phone, mail
or email to start the confirmation process.




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    Address, Phone, and Name Changes                                                                   **Please remember:
                                                                                                       Name changes require a signature and a copy of a legal
    Type of change (check all that apply)                                                              document noting the new name. Examples of legal
                                                                                                       documents are marriage licenses and divorce decrees.
    ____ Address ____Phone ____Name**       ____Email Address

    Your Account # __________________________________________ Social Security Number: ___________________________________________________

    Old Borrower Name: ______________________________________ New Borrower Name: _____________________________________________________

    Old Co-Borrower Name: ___________________________________ New Co-Borrower Name: ___________________________________________________

    Borrower Signature: ____________________________________ Co-Borrower Signature: _______________________________________________________

    New Mailing Address: ______________________________________________________________________________________________________________

    ________________________________________________________________________________________________________________________________

    ________________________________________________________________________________________________________________________________

    ________________________________________________________________________________________________________________________________

    New Phone Number: Day (_ _ _) _ _ _- _ _ _ _ Evening (_ _ _) _ _ _- _ _ _ _ Email Address ___________________________________________________
